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                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                            June 20, 2023
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

                                                                   )
       In re:                                                      )   Chapter 11
                                                                   )
       MOUNTAIN EXPRESS OIL COMPANY, et                            )   Case No. 23-90147 (DRJ)
       al.,1                                                       )
                                                                   )   (Jointly Administered)
                        Debtors.                                   )
                                                                   )     (Docket No. 661)

                    STIPULATION AND AGREED ORDER
     (I) GRANTING, AS TO THE NECESSITY LANDLORDS, THE DEBTORS’
      EMERGENCY FIRST OMNIBUS MOTION FOR ENTRY OF AN ORDER
   AUTHORIZING THE DEBTORS TO REJECT CERTAIN UNEXPIRED LEASES,
 SUBLEASES AND RELATED CONTRACTS PURSUANT TO 11 U.S.C. § 365 AND (II)
RESOLVING THE NECESSITY LANDLORDS’ MOTION FOR ENTRY OF AN ORDER
  COMPELLING DEBTORS TO COMPLY WITH POST-PETITION OBLIGATIONS
  UNDER UNEXPIRED LEASES OF REAL PROPERTY WITH RESPECT TO THE
            REJECTED LEASES PURSUANT TO 11 U.S.C. § 365(d)(3)

        This Stipulation and Agreed Order is entered into between (a) Landlords (i) AFN

ABSPROP001, LLC, (ii) ARG MESMOAR001, LLC, (iii) ARG MEVNAAL001, LLC, and (iv)

ARG E19PCK001, LLC, each affiliated with The Necessity Retail REIT, Inc. (collectively, the

“Necessity Landlords”) and (b) the Debtors in the above-captioned case (collectively, the

“Debtors,” and the Debtors together with the Necessity Landlords, the “Parties”). The Parties

hereby stipulate and agree as follows:

        WHEREAS, on April 18, 2023, the Debtors filed their Emergency First Omnibus Motion

for Entry of an Order (I) Authorizing the Debtors to Reject Certain Unexpired Leases, Subleases,

and Related Contracts Pursuant to 11 U.S.C. § 365, and (II) Granting Related Relief [Docket No.


1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain Express Oil
    Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 3650 Mansell
    Road, Suite 250, Alpharetta, GA 30022.


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295], which the Debtors later amended on May 3, 2023 [Docket No. 360] (as amended, the

“Rejection Motion”),2 seeking, among other things, entry of an order on an emergency basis to

reject certain unexpired leases of real property between certain Debtors and the Necessity

Landlords (the “Rejected Leases”), among other leases and contracts;

        WHEREAS, on April 23, 2023, the Necessity Landlords filed their (I) Objection to

Debtors’ Request for Emergency Relief and to Schedule Expedited Hearing Under Local Rule of

Bankruptcy Procedure 9013-1(i) and (II) Preliminary Objection to Debtors’ Emergency First

Omnibus Motion for Entry of an Order Authorizing the Debtors to Reject Certain Unexpired

Leases, Subleases, and Related Contracts Pursuant to 11 U.S.C. § 365 [Docket No. 310] (the

“Lease Rejection Objection”), which objected to the relief sought by the Rejection Motion on the

grounds set forth therein;

        WHEREAS, with the exception of the Lease Rejection Objection, no other counterparty to

any of the other Rejected Agreements identified in the Rejection Motion timely filed an objection

to the Rejection Motion;3

        WHEREAS, on May 2, 2023, the Necessity Landlords filed their Motion for Entry of an

Order (I) Compelling Debtors to Comply with Post-Petition Obligations Under Unexpired Leases

of Real Property Pursuant to 11 U.S.C. § 365(d)(3) and (II) Granting Related Relief [Docket No.

353] (the “Motion to Compel”), which, among other things, sought to compel the Debtors to

comply with their post-petition obligations under the Leases (as defined therein) on the grounds

set forth therein;



2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Rejection
    Motion.
3
    For the avoidance of doubt, this Stipulation and Agreed Order does not address any Rejected Agreements other
    than the Rejected Leases and the Debtors will submit a separate order granting the Rejection Motion as to such
    other Rejected Agreements.

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        WHEREAS, by agreement between the Parties, the Debtors’ time to object or otherwise

respond to the Motion to Compel has been extended through and including June 20, 2023;

        WHEREAS, pursuant to Notices filed on June 13, 2023 [Docket No. 520] and June 14,

2023 [Docket No. 522], the hearings on the Rejection Motion and the Motion to Compel,

respectively, are each currently scheduled to be held before the Bankruptcy Court on June 22, 2023

at 3:00 p.m. central time;

        WHEREAS, the Parties have engaged in good-faith, arms’ length negotiations with respect

to the Rejection Motion and the Motion to Compel, and have reached the agreed resolution set

forth herein;

        NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

        1.       The terms of this Stipulation and Agreed Order are hereby approved and so ordered.

        2.       The Rejection Motion is GRANTED as to the Rejected Leases subject to the terms

set forth herein. The Rejected Leases set forth on Schedule 1 attached hereto shall be deemed

rejected as of June 30, 2023 (the “Rejection Effective Date”);

        3.       The Debtors hereby abandon, pursuant to 11 U.S.C. § 554, their right, title and

interest in any remaining property, fixtures, equipment, and personal property, including, but not

limited to, underground or above ground storage tanks and related equipment (and any fuel stored

in such storage tanks), with respect to the premises subject to the Rejected Leases as of the

Rejection Effective Date, free and clear of all liens, claims, encumbrances, and/or interests,

provided that, the Necessity Landlords shall afford the Debtors the reasonable opportunity to

remove any such property that is leased to the Debtors or is otherwise not property of the estates;

provided further, that such removal by the Debtors shall be completed before the expiration of the

Transition Period, and all costs associated with such removal shall be at the Debtors’ sole expense.



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At the request of the Necessity Landlords, the applicable Debtor shall transfer or convey title and

ownership in such abandoned property to the Necessity Landlords or their designee or assignee,

effective as of the Rejection Effective Date. The Necessity Landlords and/or their designee or

assignee may use or dispose of such abandoned property without further notice or liability to the

Debtors or any third party, or any further order of the Court. To the extent applicable, the

automatic stay under 11 U.S.C. § 362 is modified to permit such use or disposition, including but

not limited to the transfers of title and ownership by the applicable Debtor. The Necessity

Landlords shall take any steps or actions required under applicable law to reflect the change in

ownership as of the Rejection Effective Date of the underground or above ground storage tanks

and related equipment.

        4.       Nothing in this Stipulation and Agreed Order shall be construed to authorize the

suspension or waiver of environmental remediation obligations on account of the release of a

hazardous material (including petroleum or any fraction thereof) prior to the Rejection Effective

Date at the premises subject to the Rejected Leases, provided that, nothing in this Stipulation and

Agreed Order shall entail the allowance of any administrative expense claim against the Debtors,

or require the Debtors or the Necessity Landlords to incur any expense, for such environmental

remediation obligations. The Parties acknowledge that two of the premises subject to the Rejected

Leases are currently undergoing remediation, in each case funded either by a third party or by an

applicable state trust fund.

        5.       The period beginning as of the Rejection Effective Date and ending the date that is

thirty (30) days thereafter (unless otherwise extended by the Necessity Landlords) shall be the

“Transition Period.” During the Transition Period, the Debtors shall provide the Necessity

Landlords and/or their designee or assignee with access to all third party vendors who assist with



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or oversee environmental compliance, including MVI Field Services, and such books, records,

software, databases, personnel, and any related materials and such further records and/or materials

that the Necessity Landlords and/or their designee or assignee may reasonably request relating to

the Rejected Leases and the properties subject thereto, including, but not limited to, information

concerning all environmental compliance records and requirements with respect to each such

property. During the Transition Period, the Debtors and their professionals shall facilitate, at the

Necessity Landlords’ expense, the orderly transfer of ownership and possession, effective as of the

Rejection Effective Date, of (a) any underground or above ground storage tanks under or on

properties subject to the Rejected Leases, (b) all records (or copies thereof) associated with the

ownership and operation of such storage tanks, and (c) all environmental compliance records (or

copies thereof) associated with the properties subject to the Rejected Leases, from the Debtors to

the Necessity Landlords and/or their designee or assignee, in compliance with all applicable laws,

regulations, and requirements, including but not limited to any registration requirements. The

Necessity Landlords agree to pay for the reasonable documented costs and expenses of the Debtors

in connection with their compliance with this Paragraph 5. Such reasonable documented fees and

expenses shall be payable by offset against the amounts due to the Necessity Landlords pursuant

to Paragraph 8 below and, in the event such amounts have been satisfied, shall be payable by the

Necessity Landlords to the Debtors within seven (7) business days following request and

submission of satisfactory documentation.

        6.       Upon the Rejection Effective Date, without further notice or Order of the Court,

each of the Rejected Leases shall automatically be terminated as provided in each Rejected Lease.

        7.       The Debtors shall pay to the Necessity Landlords the amount of $176,100 on the

date that is one (1) business day after the date that this Stipulation and Agreed Order is entered by



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the Court, representing amounts collected by the Debtors on account of the Rejected Leases for

the period of June 1 through June 30, 2023.

        8.       The Debtors shall pay to the Necessity Landlords the following amounts: (i)

$50,000 on the date that is one (1) business day after the date that this this Stipulation and Agreed

Order is entered by the Court, (ii) $125,000 on July 15, 2023, and (iii) $125,000 on August 15,

2023, representing a portion of post-petition rent accrued and outstanding under the Rejected

Leases through and including April 30, 2023.

        9.       The payments to be made by the Debtors to the Necessity Landlords under this

Order shall be permanently allowed and not subject to disgorgement, reduction, reclassification,

subordination, setoff, offset, reduction (except as provided in this Order), or other claim and shall

not be otherwise challenged by the Debtors or any other party.

        10.      As requested by the Necessity Landlords, the Debtors are hereby authorized and

empowered to take such steps and actions as may be necessary or appropriate to effectuate an

orderly wind-down of the provision and/or delivery of fuel to a premise subject to a Rejected Lease

and shall, as soon as practicable, seek authorization to reject the fuel supply agreements with

respect to each such location as of the Rejection Effective Date. The Necessity Landlords shall

have no liability or obligations under or with respect to the fuel supply agreements.

        11.      The Necessity Landlords shall have an additional allowed administrative claim in

the amount of $636,400 (the “Administrative Claim”), consisting of (i) stub rent of $448,200 for

the period of March 1 through March 18 under the Rejected Leases, and (ii) $188,200 in remaining

unpaid post-petition amounts due and owing for April 2023. The Administrative Claim shall not

be subject to offset, setoff, recoupment, avoidance, diminishment, or other challenge by the




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Debtors, and shall be paid in accordance with the provisions for payment of administrative claims

as approved by the Court.

        12.      The Administrative Claim and this Stipulation and Agreed Order are without

prejudice to the rights of the Necessity Landlords to seek any other amounts owed, if any, under

any of the Leases, including but not limited to those Leases which are Rejected Leases, or any

other relief that the Necessity Landlords would otherwise be entitled to under the terms of the

Leases and under law or equity, including, but not limited to, the right to file one or more proofs

of claim in the bankruptcy case for damages with respect to the Leases and/or the Rejected Leases,

including but not limited to proofs of claim for damages under 11 U.S.C. § 502(b)(6), and all such

rights of the Necessity Landlords are hereby reserved; provided, however that the Necessity

Landlords shall not be entitled to assert any claims relating to (i) amounts due and owing prior to

the Rejection Effective Date and/or (ii) any non-economic issues to the extent that the Debtors

have disclosed such issues to the Necessity Landlords prior to the date of this Stipulation and

Agreed Order and provided the Necessity Landlords with such other and further information that

they might reasonably request with respect to such non-economic issues.

        13.      The deadline to file a proof of claim to assert any damage or other claim arising

from the rejection of a Rejected Lease shall be the date fixed by the Court as the deadline to file

general unsecured Proofs of Claim in the Chapter 11 Cases.

        14.      To the extent that it is applicable, the automatic stay under 11 U.S.C. § 362, is

modified with respect to the Rejected Leases and the property subject thereto in order to allow the

Necessity Landlords to exercise all rights and remedies in law, in equity or otherwise, with respect

to the Rejected Leases and the property subject thereto to the fullest extent possible, without need

for any or further order of the Court.



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        15.      Each of the following shall constitute a “Acceleration Event” with respect to this

Stipulation and Agreed Order: (i) an order is entered converting any of the Chapter 11 Cases to

cases under chapter 7 of the Bankruptcy Code; (ii) an order is entered dismissing any of the Chapter

11 Cases; (iii) an order is entered appointing a trustee, receiver, examiner with expanded powers,

or other such fiduciary in the Chapter 11 Cases; (iv) the Debtors’ use of and access to cash

collateral is terminated; (v) the Debtors’ use of and access to its Debtor-in-Possession Financing

is terminated; (vi) any person, including the Debtors, attempts to challenge, stop, recover, or

otherwise delay any of the payments to the Necessity Landlords provided for under this Stipulation

and Agreed Order; and (vii) the Debtors fail to timely make any of the payments to the Necessity

Landlords provided for under this Stipulation and Agreed Order. In case of an Acceleration Event,

then the Necessity Landlords may, at their option, reinstate all amounts that would be due and

owing under the Leases and the Rejected Leases as of such date, and all such amounts shall become

immediately due and payable without any further action or any order of the Court; provided for

the avoidance of doubt that all other terms of this Stipulation and Agreed Order survive an

Acceleration Event and remain fully enforceable.

        16.      The Motion to Compel is WITHDRAWN WITHOUT PREJUDICE. All rights of

the Necessity Landlords and the Debtors respectively, in connection with leases or other

agreements between the Debtors and the Necessity Landlords, excluding the Rejected Leases, are

preserved and unaffected by this Order. All outstanding discovery with respect to (i) the Rejection

Motion and (ii) the Motion to Compel is held in abeyance indefinitely until such further order of

the Court or Necessity Landlords’ election following the occurrence of an Acceleration Event.




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         17.     The Parties executing this Stipulation and Agreed Order hereby represent and

warrant that they are authorized to execute this Stipulation and Agreed Order on behalf of the

entities named in their corresponding signature block.

         18.     Upon entry of this Stipulation and Agreed Order, the Parties represent and warrant

to each other that this Stipulation and Agreed Order shall be valid, binding, and enforceable by

and against each of the Parties hereto.

         19.     The Parties acknowledge that they have read and fully understand the terms of this

Stipulation and Agreed Order and agree that they are entering into this Stipulation and Agreed

Order knowingly and voluntarily and agree to all of its provisions.

         20.     The terms of this Stipulation and Agreed Order shall be immediately effective and

enforceable upon its entry.

         21.     This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and/or enforcement of this Stipulation and Agreed

Order.



IT IS SO ORDERED.


  Signed: June 20, 2023.
Dated: _____________                           ___________________________________
                                                ____________________________________
                                               HONORABLE    DAVID R. JONES
                                                DAVID R.
                                               UNITED    JONESBANKRUPTCY JUDGE
                                                       STATES
                                                 UNITED STATES BANKRUPTCY JUDGE



                          [signatures of counsel appear on following page]




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On behalf of the Necessity Landlords:      On behalf of the Debtors:


ARENTFOX SCHIFF LLP                        PACHULSKI STANG ZIEHL & JONES
                                           LLP

/s/ Beth M. Brownstein                     /s/ Michael D. Warner
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                                           Counsel to the Debtors and Debtors in
                                           Possession




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                                             Schedule 1

                                          (Rejected Leases)

                            Listed in Alphabetical Order by State and City




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    Store             Property Location Information                                 Contract                                                                        Contract
     No.           Address           City     State                Zip          Counterparty(ies)1              Debtor Entity             Contract Title2
                                                                                                                                                                   Description
              3259 Alabama Hwy                                                   VAULT CS 3259                  MEX NORTH                    LEASE
    551                            Cullman     AL                 35058                                                                                                Lease
                     157                                                         CULLMAN LLC                   ALABAMA LLC                AGREEMENT
                 200 Governors                                                      VAULT CS                    MEX NORTH                   LEASE
    561                                  Huntsville       AL      35801                                                                                                Lease
                      Drive                                                        GOVERNORS                   ALABAMA LLC                AGREEMENT
               8000 (a/k/a 8150)
                                                                                  VAULT CS                      MEX NORTH                   LEASE
    560        Whitesburg Drive          Huntsville       AL      35802                                                                                                Lease
                                                                               WHITESBURG LLC                  ALABAMA LLC                AGREEMENT
                        S.
               8500 Old Madison                                               VAULT CS MADISON                  MEX NORTH                   LEASE
    557                                  Huntsville       AL      35758                                                                                                Lease
                       Pk.                                                        PK. LLC                      ALABAMA LLC                AGREEMENT
                21 Cherry Street
                                                                                                               MEX NORTH                    LEASE
    567         (a/k/a 7454 Hwy             Vina          AL      35593       VAULT CS VINA LLC                                                                        Lease
                                                                                                              ALABAMA, LLC                AGREEMENT
                       19)

                                                                                                                 MOUNTAIN
                                                                              VAULT CS 3631 HWY                                             LEASE
    675        3631 Hwy 367 S.             Searcy         AR      72143                                         EXPRESS OIL                                            Lease
                                                                                  367 LLC                                                 AGREEMENT
                                                                                                                 COMPANY

                                                                                                                 MOUNTAIN
               2155 Buford Dam                                                                                                          MASTER LEASE
    528                                    Buford         GA      30518      ARG ME19PCK001 LLC                 EXPRESS OIL                                            Lease
                     Rd.                                                                                                                 AGREEMENT
                                                                                                                 COMPANY
                                                                                                                 MOUNTAIN
                2380 Peachtree                                                                                                          MASTER LEASE
    181                                    Buford         GA      30518      ARG ME19PCK001 LLC                 EXPRESS OIL                                            Lease
                Industrial Blvd.                                                                                                         AGREEMENT
                                                                                                                 COMPANY
                                                                                                                 MOUNTAIN
              2619 Holly Springs                                                                                                        MASTER LEASE
    153                                   Canton          GA      30115      ARG ME19PCK001 LLC                 EXPRESS OIL                                            Lease
                   Pkway                                                                                                                 AGREEMENT
                                                                                                                 COMPANY
                                                                                                                 MOUNTAIN
                1801 Sigman Rd                                                                                                          MASTER LEASE
    413                                   Conyers         GA      30012      ARG ME19PCK001 LLC                 EXPRESS OIL                                            Lease
                      NW                                                                                                                 AGREEMENT
                                                                                                                 COMPANY




1
     In certain instances, identified contract counterparties may be predecessors in interest to current contract counterparties. See Docket No. 293.
2
     Any and all amendments, supplements, restatements, extensions, and other modifications of each agreement listed herein are incorporated by this reference, whether or not they
     are expressly listed below.
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   Store              Property Location Information                  Contract                                               Contract
    No.            Address           City     State    Zip       Counterparty(ies)1   Debtor Entity   Contract Title   2
                                                                                                                           Description
                                                                                       MOUNTAIN
                                                                                                      MASTER LEASE
    359          9123 US-278      Covington     GA    30014    ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
                                                                                                       AGREEMENT
                                                                                       COMPANY
                                                                                       MOUNTAIN
                                                                                                      MASTER LEASE
    271          4150 Hwy 19      Dahlonega     GA    30533    ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
                                                                                                       AGREEMENT
                                                                                       COMPANY
                                                                                       MOUNTAIN
                                                      30635-                                          MASTER LEASE
    457      1431 Bowman Hwy       Elberton     GA             ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
                                                       3905                                            AGREEMENT
                                                                                       COMPANY
                                                                                       MOUNTAIN
                                                                                                      MASTER LEASE
    289      4209 Jonesboro Rd.   Forest Park   GA    30297    ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
                                                                                                       AGREEMENT
                                                                                       COMPANY
                                                                                       MOUNTAIN
                                                                                                      MASTER LEASE
    486      4700 Jonesboro Rd.   Forest Park   GA    30297    ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
                                                                                                       AGREEMENT
                                                                                       COMPANY


                                                                                       MOUNTAIN
                                                                                                      MASTER LEASE
    366        10355 Tara Blvd    Jonesboro     GA    30014    ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
                                                                                                       AGREEMENT
                                                                                       COMPANY


                                                                                       MOUNTAIN
              10801 E. Veterans     Lithia                                                            MASTER LEASE
    606                                         GA    30122    ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
               Memorial Hwy        Springs                                                             AGREEMENT
                                                                                       COMPANY

                                                                                       MOUNTAIN
                3229 Bankhead       Lithia                                                            MASTER LEASE
    374                                         GA    30122    ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
                     Hwy           Springs                                                             AGREEMENT
                                                                                       COMPANY


                                                                                       MOUNTAIN
                                                                                                      MASTER LEASE
    405        780 Conyers Rd.    Loganville    GA    30052    ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
                                                                                                       AGREEMENT
                                                                                       COMPANY




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   Store              Property Location Information                 Contract                                               Contract
    No.            Address           City     State   Zip       Counterparty(ies)1   Debtor Entity   Contract Title   2
                                                                                                                          Description
                                                                                      MOUNTAIN
                                                                                                     MASTER LEASE
    497        1105 Gray Hwy        Macon       GA    31211   ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
                                                                                                      AGREEMENT
                                                                                      COMPANY
                                                                                      MOUNTAIN
                                                                                                     MASTER LEASE
    415       3705 Irwinton Rd      Macon       GA    31217   ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
                                                                                                      AGREEMENT
                                                                                      COMPANY
                                                                                      MOUNTAIN
                3425 Medlock                                                                         MASTER LEASE
    241                            Norcross     GA    30092   ARG ME19PCK001 LLC     EXPRESS OIL                            Lease
                 Bridge Rd.                                                                           AGREEMENT
                                                                                      COMPANY

                                                                                      MOUNTAIN
              336 Hwy 138 SW,                                  VAULT CS 336 HWY                         LEASE
    183                            Riverdale    GA    30274                          EXPRESS OIL                            Lease
                   Suite A                                         138 LLC,                           AGREEMENT
                                                                                      COMPANY

                                                                                       MOUNTAIN
                                                                                                     MASTER LEASE
    498       2355 Scenic Hwy      Snellville   GA    30078   ARG ME19PCK001 LLC      EXPRESS OIL                           Lease
                                                                                                      AGREEMENT
                                                                                       COMPANY
                                                                                       MOUNTAIN
               4606 E. Fairview                                                                      MASTER LEASE
    485                           Stockbridge   GA    30281   ARG ME19PCK001 LLC      EXPRESS OIL                           Lease
                   Rd. SW                                                                             AGREEMENT
                                                                                       COMPANY
                                                                                       MOUNTAIN
                                                                 VAULT CS                               LEASE
    190         12499 Hwy 27      Summerville   GA    30747                           EXPRESS OIL                           Lease
                                                              SUMMERVILLE LLC                         AGREEMENT
                                                                                       COMPANY
                                                                                       MOUNTAIN
               6425 Bells Ferry                               VAULT CS 6425 BELLS                       LEASE
    220                           Woodstock     GA    30189                           EXPRESS OIL                           Lease
                     Rd.                                          FERRY LLC                           AGREEMENT
                                                                                       COMPANY
                                                                                      TEXAS MEX
                                  Rio Grande                     VAULT RS RIO                           LEASE
    514        5270 E. Hwy 83                   TX    78582                             LIMITED                             Lease
                                     City                        GRANDE LLC                           AGREEMENT
                                                                                     COMPANY LLC




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